











Opinion issued October 30, 2003











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01-03-01122-CV
____________

IN RE HAROLD L. PHILLIPS, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator Harold L. Phillips has filed a petition for a writ of mandamus
complaining of Judge Reiter’s


 alleged rendition of a void orders modifying child
custody.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for a writ of mandamus.
&nbsp;
PER CURIAM
Panel consists of Justices Hedges, Nuchia, and Higley.


